                     Case 25-10308           Doc 512        Filed 06/16/25        Page 1 of 2




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF MARYLAND
                                     (Baltimore Division)

    In re                                                    Case No. 25-10308 (DER)

    Diamond Comic Distributors, Inc., et al.,                Chapter 11

                             Debtors. 1                      (Jointly Administered)

                                                             Re: D.I. 443

CERTIFICATION OF COUNSEL REGARDING DEBTORS’ MOTION FOR ENTRY OF
   AN ORDER EXTENDING THE DEBTORS’ EXCLUSIVE PERIODS TO FILE A
            CHAPTER 11 PLAN AND SOLICIT VOTES THEREON

            The undersigned counsel to the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) hereby certifies that:

            1.     On May 13, 2025, the Debtors filed the Debtors’ Motion for Entry of an Order

Extending the Debtors’ Exclusive Periods to File a Chapter 11 Plan and Solicit Votes Thereon

[D.I. 443] (the “Motion”).

            2.     Pursuant to the Motion, objections to the Motion were to be filed on or before May

27, 2025 (the “Objection Deadline”), which was extended for the Official Committee of Unsecured

Creditors (the “Committee”) to June 13, 2025.

            3.     Before the Objection Deadline, the Committee sent informal comments to the

proposed order attached to the Motion (the “Proposed Order”). No other informal comments or

formal objections were filed in response to the Motion.




1
      The Debtors in these chapter 11 cases along with the last four digits of the Debtors’ federal tax identification
      numbers are: Diamond Comic Distributors, Inc. (3450); Comic Holdings, Inc. (7457); Comic Exporters, Inc.
      (7458); and Diamond Select Toys & Collectibles, LLC (6585). The Debtors’ mailing address is: 10150 York
      Road, Suite 300, Hunt Valley, Maryland 21030.
                 Case 25-10308       Doc 512     Filed 06/16/25    Page 2 of 2




         4.    The Debtors have resolved the Committee’s comments through revisions to the

Proposed Order. A revised Proposed Order is attached hereto as Exhibit A (the “Revised Proposed

Order”). Attached hereto as Exhibit B is a redline of the Revised Proposed Order that reflects the

changes made to the Proposed Order filed with the Motion.

         5.    Accordingly, pursuant to rule 9013-1(d) of the Local Bankruptcy Rules of the

United States Bankruptcy Court for the District of Maryland, the Debtors respectfully request that

the Court enter the Revised Proposed Order at its earliest convenience.

Dated: June 16, 2025                         SAUL EWING LLP
                                         By: /s/ Jordan D. Rosenfeld
                                            Jordan D. Rosenfeld (MD Bar No. 13694)
                                            1001 Fleet Street, 9th Floor
                                            Baltimore, MD 21202
                                            Telephone: (410) 332-8600
                                            Email: jordan.rosenfeld@saul.com

                                             -and-

                                             Jeffrey C. Hampton (admitted pro hac vice)
                                             Adam H. Isenberg (admitted pro hac vice)
                                             Turner N. Falk (admitted pro hac vice)
                                             1500 Market Street, 38th Floor
                                             Philadelphia, PA 19102
                                             Telephone: (215) 972-7777
                                             Email: jeffrey.hampton@saul.com
                                                     adam.isenberg@saul.com
                                                     turner.falk@saul.com
                                             -and-

                                             Mark Minuti (admitted pro hac vice)
                                             Paige N. Topper (admitted pro hac vice)
                                             Nicholas Smargiassi (admitted pro hac vice)
                                             1201 N. Market Street, Suite 2300
                                             Wilmington, DE 19801
                                             Telephone: (302) 421-6800
                                             Email: mark.minuti@saul.com
                                                    paige.topper@saul.com
                                                    nicholas.smargiassi@saul.com
                                             Counsel for Debtors and Debtors in Possession


                                                2
55741237.1
